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 9   Attorneys for General Mills, Inc.;
     General Mills Sales, Inc.
10
11                        UNITED STATES DISTRICT COURT
12                     SOUTHERN DISTRICT OF CALIFORNIA
13
     CRYSTAL HILSLEY, et al.,              Case No. 3:18-cv-00395-L-BLM
14
                        Plaintiffs,        JOINT MOTION TO EXTEND TIME
15
           v.                              TO FILE PRELIMINARY
16                                         APPROVAL MOTION (L. Civ. R. 7.2)
     GENERAL MILLS, INC., et al..,
17
                        Defendants.        Hon. Judge M. James Lorenz
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                                                         CASE NO. 3:18-cv-00395-L-BLM
                                                                       JOINT MOTION
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 1         Pursuant to Local Civil Rule 7.2, Defendants General Mills, Inc. and General
 2   Mills Sales, Inc. and; Plaintiffs Crystal Hilsley, Adrienne Morris, Nikki Cook and
 3   David Christensen (collectively, the Parties) jointly move the Court for an
 4   extension of time to file a preliminary approval motion, from July 18, 2022 until
 5   September 8, 2022.
 6         On June 21, 2021, the Court denied Plaintiffs’ second motion for preliminary
 7   approval of class action settlement and granted Mr. Hayes’s motion to intervene.
 8   Dkt. No. 79. The Court ordered Plaintiffs to file any further motion for preliminary
 9   class action settlement approval by July 18, 2022. Id.
10         The Parties understand the Court’s concerns with the proposed class action
11   settlement, as outlined in its June 21 order. The Parties believe those concerns are
12   best addressed with the help of a mediator, so they have promptly scheduled a
13   mediation with the Honorable Leo S. Papas (Ret.) on the earliest mutually available
14   date, August 25, 2022. The Parties will attend the mediation with the hopes of
15   reaching a settlement that is fair and reasonable. To address the Court’s concerns
16   with the prior settlement, the Parties promptly scheduled a mediation with the
17   Honorable Leo Papas (Ret.) on the first available date, August 25, 2022.
18         Good cause exists for the proposed extension. Given that the Parties’
19   mediation is scheduled for August 25, the Parties request an extension up to and
20   including September 8 for Plaintiffs to file a further motion for preliminary
21   approval of class action settlement. Should the Parties reach a resolution of the case
22   at the mediation, September 8 is the soonest date on which Plaintiffs and Intervenor
23   can file a motion for preliminary approval, given the scope and complexities of the
24   issues that motion must address.
25         Good cause having been shown, the Parties respectfully request that this
26   Court extend the deadline to file a motion for preliminary approval of class action
27   settlement from July 18, 2022 until September 8, 2022.
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                                                                              JOINT MOTION
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 1   DATED: June 30, 2022.                  DATED: June 30, 2022.
 2   Charles C. Sipos                       Michael Houchin
     PERKINS COIE LLP                       LAW OFFICES OF RONALD A.
 3   Attorney for Defendants                MARRON, PLC
                                            Attorney for Plaintiffs
 4
     By: /s/ Charles C. Sipos
 5        Charles C. Sipos                  By: /s/ Michael Houchin
                                                 Michael Houchin
 6
 7
 8                                 Signature Certification

 9         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

10   Policies and Procedures Manual, I hereby certify that the content of this document

11   is acceptable to Michael Houchin, counsel for Plaintiffs, and that I have obtained

12   Mr. Houchin’s authorization to affix his electronic signature to this document.

13
                                           By: /s/ Charles C. Sipos
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                                           Charles C. Sipos
15                                         Attorney for Defendants
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                                                                              JOINT MOTION
